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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION

NETLIST, INC,                       )
                                    )
            Plaintiff,              )
                                    )
                                        Civil Action No. 2:21-CV-463-JRG
      vs.                           )
                                    )
                                        JURY TRIAL DEMANDED
SAMSUNG ELECTRONICS CO., LTD.,      )
SAMSUNG ELECTRONICS AMERICA,        )
INC., SAMSUNG SEMICONDUCTOR,        )
INC.,                               )
                                    )
            Defendants.             )

   PLAINTIFF NETLIST, INC.’S OPPOSITION TO DEFENDANTS’ MOTION TO
      SEVER AND STAY PATENTS AT ISSUE IN DELAWARE (ECF NO. 26)
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I.      INTRODUCTION

        On October 14, 2021, Judge Scarsi in the Central District of California ruled that Samsung

had materially breached a Joint Development and License Agreement (“JDLA”) it signed with Netlist,

and that the agreement was terminated. The next day, Samsung Electronics Co, Ltd. (“SEC”) and

one of its subsidiaries, Samsung Semiconductor, Inc. (“SSI”) raced to file a declaratory judgment in

Delaware, a district in which neither Samsung nor Netlist maintains any facilities, documents, or

witnesses. The original suit involves four non-infringement declaratory judgment claims on four

patents (“Delaware DJ Patents”), three claims for patent unenforceability, and a state law breach of

contract claim that seeks to subvert Judge Scarsi’s ruling. Netlist has moved to dismiss this improper

anticipatory complaint, and nothing substantive has happened in the Delaware case at all. Samsung is

seeking a stay and severance based on claims that Judge Andrews has not even agreed to hear.

        On December 20, 2021, Netlist brought a suit against SEC, SSI and Samsung Electronics

America (“SEA”) (collectively “Samsung”) in this Court. SEA, based on the venue statute, cannot be

sued in Delaware. To be respectful of the jurisdiction of the District of Delaware, the Texas suit

involves patents from entirely different families, directed at entirely different technologies, and with

one exception, different products (the “Texas Patents”). In re ASM International, N.V., 774 F. App’x

650 (Fed. Cir. 2019) makes clear that, on these facts, the Delaware and Texas cases should proceed

independently. There, the Federal Circuit expressly rejected the very premise underlying Samsung’s

motion, emphasizing that “no precedent had been advanced ‘supporting the proposition that one

court must hear all forms of intellectual property misappropriation of an accused product.’” Id. at 652

(citation omitted).

        Samsung had a choice after Netlist filed its complaint before this Court. It could have

respected the authority of this Court to determine its own jurisdiction and heeded black-letter

precedent. In essence, if Samsung believed the Delaware court should adjudicate the Texas Patents



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together with the Delaware DJ Patents, Samsung could have – and should have – brought a motion

to transfer before this Court. Instead, Samsung engaged in litigation tactics. Shortly after Netlist

agreed to Samsung’s 90-day response extension here, Samsung amended its Delaware complaint to

add the Texas Patents that were first filed before this Court, attempting to strip this Court of its

authority to control its own docket. Yet, under the clear holding in In re ASM International, this Court

has the sole authority to determine whether this case can properly proceed in Texas.

II.     BACKGROUND

         A. Samsung Filed an Improper Anticipatory Suit in Delaware on Patent Families
            That Are Not at Issue in This Case

        In 2020, Netlist brought an action against SEC for breaching the 2015 JDLA. Mtn. 2. On

October 14, 2021, Judge Scarsi in the Central District of California entered a summary judgment order

finding that Netlist properly terminated the JDLA after Samsung materially breached the Agreement.

Ex. 1 at 20–21. At the time of Judge Scarsi’s October 14, 2021 order, the C.D. Cal. case was still

ongoing. SEC and SSI then rushed to file a declaratory judgement action in Delaware the day after

Judge Scarsi’s unfavorable decision, based on the four Delaware DJ Patents, U.S. Pat. Nos. 10,217,523,

10,474,595, 9,858,218, and 7,619,912. Mtn. 3. Netlist moved to dismiss the Delaware Action on the

basis that there was/is no live case and controversy between the parties as to the Delaware DJ Patents,

and that the suit was brought to improperly interfere with the jurisdiction of Judge Scarsi and with a

case involving the ’912 patent that has been pending for nearly 13 years in the Northern District of

California between Google and Netlist. For example, SEC and SSI openly admitted in the Delaware

complaint that they included the ’912 patent following an indemnification request from Google. ECF

No. 26-2 (Del. FAC), ¶¶ 14, 43.

        On December 20, 2021, Netlist filed an infringement action against SEC, SSI and SEA based

on four Texas Patents from entirely distinct patent families: U.S. Pat. Nos. 10,860,506, 10,949,339 and




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11,016,918, with a notice in the complaint that Netlist would add U.S. Pat. No. 11,232,054 – a

continuation of the ’918 patent – after it issued. Netlist did not include in this action any of the

Delaware DJ Patents, nor patents in the same families as the Delaware DJ Patents, in order to respect

the jurisdiction of the Delaware Court to adjudicate the Delaware DJ Patents.

       The Texas Action brings claims against three entities: SEC (a foreign entity), SSI (a California

corporation with all its US manufacturing facilities in Texas), and SEA (major facilities in Texas). SEA

is not a party to the Delaware Action and cannot be sued for patent infringement in Delaware – it has

no physical location in Delaware and is registered as a New York entity. ECF No. 25, ¶ 6. But SEC,

SSI, and SEA can all be sued in Texas where they have an extensive presence. Texas is the location

of all of Samsung’s manufacturing facilities in the United States. Ex. 2 (Samsung in Texas), at 4. SEC,

SEA, and SSI also routinely agree to defend patent actions in this District. ECF No. 23, ¶ 13. The

evidence will show that SEA commits distinct acts of infringement in Texas, including using infringing

memory modules manufactured by its affiliates outside of the U.S. to run SEA’s business in the U.S.

       Although SEC has no reservations appearing in the U.S., as evidenced by its improper

Delaware Action, SEC stated that it would force Netlist to serve SEC in Korea via the Hague

Convention unless Netlist agreed to a 90-day extension for SEC, SSI, and SEA to answer. On January

18, 2022, shortly after Netlist agreed to the 90-day extension to their answer, SEC and SSI amended

their Delaware complaint, adding three of the Texas Patents – ’506, ’339 and ’918 patents. Mtn. 4.

Days later, Samsung moved to amend its complaint again to add another of the Texas Patents – the

’054 patent – to the Delaware suit. Id. Netlist renewed its motion to dismiss as to the Delaware DJ

Patents as an improper anticipatory lawsuit, moved to dismiss the addition of the original Texas

Patents as an improper attempt to subvert this Court’s jurisdiction, and opposed the motion to amend

on the same basis. Ex. 3 (Netlist’s Renewed Motion to Dismiss), at 13-15, 19-20; Ex. 4 (Netlist’s

Opposition to Samsung’s Motion to Amend), at 11-17, 25. SEA remains a non-party to the Delaware



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Action.

          The District of Delaware has no concrete connection to the dispute between the parties. Not

a single party has a facility or employees in the district. There is no evidence that the forum is

convenient to any witnesses or contains any of the documents that will be at issue in the case. This is

in stark contrast with Texas, which is a center of research and manufacturing for SEC, SSI, and SEA,

and dramatically more convenient for both Samsung’s Korean witnesses (who can fly directly to

Dallas) and Netlist’s witnesses, who are primarily on the West Coast.

          After completing a technical analysis of additional Samsung memory products known as high

bandwidth memory (“HBM”), Netlist included in its amended complaint in the Texas Action two

additional patents against SEC, SSI, and SEA – U.S. Pat. Nos. 8,787,060 and 9,318,160 (together with

the four above, the six “Texas Patents”). ECF No. 23, ¶ 3. The two HBM patents are also from an

entirely distinct patent family from the Delaware DJ Patents.

          There has been no activity in the Delaware Action. Although the case was filed 8 months ago,

there has been no scheduling conference, discovery has not started, and SEC and SSI have not even

approached the Court to request a ruling on the pending motions or to set a schedule. SEC and SSI

are obviously content that the case remains inactive, consistent with Netlist’s position that it was an

improper anticipatory lawsuit that is now being used to stop progress of the Texas action and the

unrelated Northern District Google action.

          B.     The Delaware DJ Patents and the Texas Patents Represent Separate Causes
                 of Action

                 1.   The Texas and Delaware DJ Patents Have Different Priority Dates

          The Delaware DJ Patents involve three separate patent families. The six patents at issue before

this Court (the Texas Patents) involve entirely different patent families with different priority dates.




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 Patent(s)             Priority Application(s)       Priority Date        Patent Family
 Delaware DJ Patents
 ’523 Pat.             Provisional No. 61/044,801    April 14, 2008       Dual-mode Operation Family I
 ’595/’218 Pat.        Provisional No. 61/186,799    June 12, 2009        Dual-mode Operation Family II
 ’912 Pat.             Provisional Nos. 60/550,668, Mar. 5, 2004, Rank Multiplication Family
                       60/575,595 and 60/588,244    May 28, 2004,
                                                    July 15, 2004
 Texas Patents
 ’506 Pat.             Provisional No. 61/676,883    July 27, 2012        Distributed Buffer Family I
 ’339 Pat.             U.S. App. No. 12/504,131      July 16, 2009        Distributed Buffer Family II
 ’918/’054 Pat.        Provisional No. 60/941,586    June 1, 2007         PMIC Family
 ’060/’160 Pat.        Provisional No. 61/409,893    Nov. 3, 2010         HBM Family

                  2.    The Texas Patents and Delaware DJ Patents Involve Substantially
                        Different Products

       In addition to involving entirely different patent families with different priority dates and prior

art, the products covered by the Delaware DJ Patents and the Texas Patents are dramatically different.

 Product                 Texas Patents                              Covered by Delaware DJ Patents
 HBM                     Yes                                        No
 DDR5                    Yes                                        No
 DDR4 RDIMMs             No                                         Yes
 DDR4                    Yes [Technology specific to timing of      Yes [Technology specific to dual
 LRDIMMs                 data buffers on the LRDIMMs]               operating modes of LRDIMMs]

       As explained by Netlist’s expert, Dr. William Mangione-Smith, a dual in-line memory module

(“DIMM”) is an assembly of individual memory devices (DRAMs) interconnected with other

components (such as a registering clock driver (“RCD”), and data buffers) on a printed circuit board.

Dr. Mangione-Smith Decl. (“MS Decl.”), ¶¶ 10, 12-13. Much like the category “smartphone,” DIMMs

encompass numerous different designs based on the generation of DRAM on the module (i.e., DDR5,

DDR4, etc.) and the design of the module (i.e., LRDIMM, RDIMM, UDIMM, SODIMM), which in

turn affects not only the design of the memory devices themselves but also the types and designs of



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specific components on the modules that interact with the memory devices. Id. Saying all DIMMs

are the same is like saying all smartphones are the same. It is not a serious technical position.

                3.   The PMIC Patents Have No Overlap with the Delaware DJ Patents

        The PMIC Family is directed to power management integrated circuits (“PMICs”) that are

located on the memory module. MS Decl., ¶¶ 18-19. Earlier memory generations put the power

management on motherboard. Id. ¶ 19. Bringing the PMIC function onto the module itself “marks

a radical change in voltage regulation.” Ex. 5 at 3. DDR5 DIMMs’ motherboard is no longer

responsible for voltage regulation and power management, while DDR4 DIMMs’ power management

functionality resides in the motherboard and outside the memory module. MS Decl., ¶ 19. This

subject matter is undoubtedly unrelated to the Delaware DJ Patents. Id. ¶¶ 20-21, 31.

        First, the PMIC Family and the Delaware DJ Patents implicate different memory module

products. Samsung’s original Delaware complaint only asked the Court to declare that Samsung’s

DDR4 DIMMs did not infringe the Delaware DJ Patents. ECF No. 26-3, ¶¶ 92, 102. In contrast, in

this Action, Netlist asserts the PMIC Family only against DDR5 DIMMs. ECF No. 23 ¶¶ 36, 41.

        Second, as explained above, the PMIC Family and the Delaware DJ Patents implicate different

functionalities based on different generations of DDR memory technologies. The Court need not

take Netlist’s word for this. When SEC and SSI improperly attempted to inject the PMIC Family into

the Delaware case, they identified the JEDEC standards they believed are implicated; and the two sets

have no overlap.

             Delaware DJ Patents1                                     PMIC Family
 ’523 patent: JESD82-32 DDR4 Data Buffer            JESD 301-1 PMIC for DDR5; JESD 82-511
 Definition. ECF No. 26-2 (Del. FAC), ¶ 63.         DDR5 RCD Definition; and JESD 79-5 DDR5
                                                    SDRAM. ECF No. 26-2 (Del. FAC), ¶ 57.
 ’595/’218 patents: JESD 82-31 DDR4 RCD

        1
          Because not even Samsung contends its action is the first-filed action regarding the ’912
patent at issue in the Google Action, Netlist does not include it in the charts.



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 Definition. ECF No. 26-2 (Del. FAC), ¶ 70.

        Third, DDR5 and DDR4 were developed a decade apart. JEDEC began publishing DDR4

standards in 2012, but did not publish the first DDR5 standard until 2020. Ex. 6 at 1.

                4.   The Distributed Buffer Families Have No Relationship to the Delaware
                     DJ Patents

        One of the key differences between RDIMMs and LRDIMMs is that LRDIMMs have a

distributed set of buffers, one buffer for each data line, while RDIMMs have no data buffering. MS

Decl., ¶ 13. The Distributed Buffer Families before this Court relate specifically to the use of

distributed buffers, and more precisely, the latency control for the data paths between the distributed

data buffers and the associated DRAMs. RDIMMs falling under the Delaware DJ Patents do not

include this feature. Id. For example, the Texas ’339 patent recites “wherein [a] byte-wise data path

is enabled for a first time period in accordance with a latency parameter to actively drive a respective

byte-wise section of the N-bit wide write data associated with [a] memory operation from the first side

[of the data buffer] to the second side during [a] first time period,” and “wherein the byte-wises data

path includes first tristate buffers, and [a] logic in response to the module control signals [from an

RCD] is configured to enable the first tristate buffers to drive the respective byte-wise section of the

N-bit wide write data to the respective module data lines during the first period.” Ex. 7 at 19:56:67;

see also Ex. 8 at 19:38-52 (reciting data buffer’s use of delayed read data strobe in response to signals

from RCD for reading data from the DRAMs to the data buffer).

        In contrast, the Delaware ’912, ’218, and ’595 patents read on technology that is generically

applicable to all DIMMs with an RCD serving as a module controller, and thus do not relate to the

unique distributed data buffers found only in LRDIMMs. MS Decl., ¶¶ 22-29. The Delaware ’912

patent, Ex. 9, reads on all rank multiplied DIMMs with features relating to the standard-set per-DRAM

addressability feature. Id., ¶¶ 27-28. It has nothing to do with the timing of signaling of distributed




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buffers in LRDIMMs. As Dr. Mangione-Smith explains, the Delaware ’595 and ’218 patents “are

directed to a novel technique enabling the memory module to communicate with a system memory

controller during initialization or training.” Id., ¶ 29. During normal operation, the module controller,

e.g., RCD, is “configurable to output via [an] open drain output and [an] error edge connection a signal

indicating a parity error occurred while the memory module is in [a] first mode.” Ex. 10, cl. 1. In

contrast, in the second mode, the module controller is “configurable to provide information related

to the one or more training sequences by driving the open drain output and the error connection” to

a low logic level state or a high impedance state. Id.; see also Ex. 11, cl. 1. Thus, the Delaware ’595

and ’218 patents do not implicate the timing issues with distributed data buffers. MS Decl., ¶ 29.

        The ’523 patent, like the ’595 and ’218 patents, also recites a memory module operable in at

least a first mode (normal operation) and a second mode during which a data buffer “is configured to

isolate [] memory devices from being accessed by the system memory controller.” E.g., Ex. 12, cl. 1.

As Dr. Mangione-Smith explains, in that second mode, the data buffer is configured to send training

data patterns to memory devices in accordance with the control and address signals from the module

memory controller (RCD). E.g., id., 17:20-30; MS Decl., ¶ 30. See also, e.g., id., cls. 5-7 (dependent

claims directed to on-board logic the memory module utilizes to conduct self-testing); id., 14:1-4

(noting that in the second mode, the memory module may, for example, “include switching (e.g., by

configuring the test controller 36) the mode of the memory module 10 from a normal operation mode

to the test mode.”). The ’523 patent does not implicate the timing of data signals from the distributed

data buffer architecture. MS Decl., ¶ 30. Consequently, there is no technical overlap between the

Distributed Buffer Families in Texas and the ’523 patent in Delaware.

        The Court only need to look at the JEDEC standards that SEC and SSI identified when they

attempted to inject the Distributed Buffer Families into the Delaware case. Once again, there is no

overlap.



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            Delaware DJ Patents                          Texas Distributed Buffer Families
 ’523 patent: JESD82-32 [§ 2.1.8.5] ’506 patent: JESD82-32A § 2.14 Read Commands and
 DB-to-DRAM Write Delay Training. MPR Override Reads. ECF No. 26-2 (Del. FAC), ¶ 56;
 ECF No. 26-2 (Del. FAC), ¶ 63.     ECF No. 23, ¶ 72.
 ’595/’218 patents: JESD82-31 [§2.12]         ’339 patent: JESD79-4C § 4.25.5 Write Burst Operation
 CA Bus Training Modes (Clock-to-CA           and § 4.24.2 Read Burst Operation; JESD 21C § 6.1 Signal
 training). ECF No. 26-2 (Del. FAC),          Groups; and JESD82-32A § 2.13 Write Commands, § 4.61
 ¶ 70.                                        Logic Diagram, § 10.5 Output Timing Requirements.
                                              ECF No. 26-2 (Del. FAC), ¶ 56; ECF No. 23, ¶¶ 85–89.

                 5.     Different Witnesses

        Samsung identified different witnesses for DDR5 modules and DDR4 LRDIMMs in this case.

In particular, it identified Messrs. Kyungsoo Park and Hun-Joo Lee for DDR5 DIMMs, and Mr. You

Keun Han for DDR4 LRDIMMs. Ex. 13, at 19-20. In contrast, in the Delaware Action, Samsung

identified a Mr. Junseon Yoon as knowledgeable about the products at issue there. Ex. 14. Mr. Yoon

is not identified on Samsung’s Rule 26(a) disclosure in this case.

        Furthermore, as the table below shows, there is extremely limited overlap between the

inventors and prosecuting attorneys for the Delaware DJ Patents and the original Texas Patents.

                      Delaware DJ Patents                   Texas Patents

 Inventors2           ’912 patent: Jeffrey C. Solomon.      Distributed Data Buffer Families: Hyun Lee.
                      ’595 and ’218 patents: Hyun Lee.      PMIC Family: Chi-She Chen, Jeffrey C.
                                                            Solomon, Scott H. Milton.
                      ’523 patent: Hyun Lee, Soonju
                      Choi.                                 HBM Family: Hyun Lee.
 Prosecution          Bruce Itchkwawitz, Mehran             Michael Messinger, Khaled Shami (PMIC
 Counsel              Arjomand, David S. Kim, Jamie         Family), and Jamie Zheng (Distributed
                      Zheng.                                Buffer Families & HBM Family).

Notably, Inventor Lee is the sole inventor of the HBM Patents – that Samsung acknowledges should

be heard by this Court – and the Texas Distributed Buffer Families, and Ms. Zheng is the prosecuting



        2
        One of the inventors on a number Netlist’s patents is Jayesh R. Bhakta, who has passed away.
Therefore he is not addressed in this chart.


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attorney for the HBM Patents and the Texas Distributed Buffer Family.

        C.      The Co-Pending Micron Suit in the Eastern District of Texas Involves
                Identical Patents and Products

        On June 10, 2022, Netlist filed suit against Micron Technology, Inc. and its Texas-based

subsidiaries in this District. Netlist v. Micron Tech., Inc., No. 22-cv-203-JRG, ECF No. 1 (E.D. Tex.

June 10, 2022). The Micron Action involves the same six patents at issue here – the ’506, ’339, ’918,

’054, ’060, and ’160 patents (id., ¶ 2) – asserted against the exact same types of products at issue here

– DDR4 LRDIMMs, all DDR5 DIMMs, and HBM (id., ¶¶ 54-65).

III.    ARGUMENT

        SEC, SSI, and SEA decided to seek a stay/severance from this Court while Netlist’s motion

to dismiss is pending in Delaware. Judge Andrews has not even agreed to hear a suit on the Delaware

DJ Patents, much less consider the Texas Patents that were first filed before this Court. In contrast,

SEC, SSI, and SEA have all answered and have not moved to dismiss. As a result, the Texas Patents

are definitively before this Court.      SEC and SSI’s decision to file the instant motion is an

acknowledgement that it is proper for this Court to determine the appropriate scope of its jurisdiction

and that doing so will not impinge on the authority of the Delaware Court. The first-filed rule “favors

pursuing only the first-filed action when multiple lawsuits involving the same claims are filed in

different jurisdictions.” Merial Ltd. v. Cipla Ltd., 681 F.3d 1283, 1299 (Fed. Cir. 2012) (emphasis

added). Netlist initiated the Texas Action on December 20, 2021. Samsung improperly attempted to

add certain of the Texas Patents to Delaware on January 18, 2022. Netlist’s action before this Court

is therefore the first-filed action as to the Texas Patents.

         A. The Texas Patents Do Not Relate Back to the Delaware DJ Patents

        Federal Circuit precedent quickly disposes of Samsung’s assertion that its second-filed claims

against the Texas Patents relate back to its legally defective and anticipatory Delaware action. In re




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ASM International involved a writ of mandamus review. 774 F. App’x at 650. ASM and HiKE sued

each other for patent infringement in December 2017 in N.D. Cal. “In February 2018, HiKE filed

the underlying complaint in the District of Oregon, alleging that the same products infringed four

different patents[.]” Id. at 651. ASM moved to transfer the Oregon case under the first-to-file rule.

The district court denied the motion to transfer, noting that although the same products were at issue

in both cases, the fact that the patents involved different technologies meant that the first-to-file rule

was inapplicable:

          “[e]ven though the Accused Products are the same in both actions, the Accused
          Products are highly complex and involve multiple different technologies and the
          California lawsuit and the Oregon lawsuit involve different patents, different claim
          terms, and different claim elements.” Id. at 651.

The Federal Circuit affirmed, first noting that it has long been the Federal Circuit’s position that “no

precedent ha[s] been advanced ‘supporting the proposition that one court must hear all forms of

intellectual property misappropriation of an accused product.’” Id. at 652 (citation omitted).

        The Federal Circuit expressly rejected the argument that the presence of the same products in

both cases justified the application of the first-filed rule, making clear that a specific technical analysis

had to occur to understand overlap:

          “the district court exercised its considerable discretion to not transfer because this
          case involves different asserted patents, claim terms, and technology than are at
          issue in the Northern California action. ASM does not directly refute these factual
          findings and instead largely urges transfer because both cases involve the same
          products. However, that was essentially the same argument that was rejected
          [previously].” Id.

        Even if the products were identical, this Court is still the first-filed court as to the Texas

Patents. The Texas Patents and the Delaware DJ Patents involve completely different patent families

and memory technologies. Under ASM International, this Court is the first-filed forum.

        The PMIC Family and the Distributed Buffer Families are properly analyzed separately

because each family represents a distinct cause of action.



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       PMIC Family: These patents are from a different patent family than the Delaware DJ

Patents. There is no overlap in accused products or technology. See supra, II.B.2, 3 and 5. As a result,

there is no evidence of any overlap, let alone substantial overlap, in infringement or validity. The

PMIC Family is directed to a PMIC located on the DDR5 memory module, a feature which does not

even exist in DDR4 products. Indeed, every DJ count in SEC and SSI’s October 2021 anticipatory

DJ is expressly limited to “Samsung DDR4 Memory Modules.” ECF No. 26-3, ¶¶ 92, 102, 113, 127.

Because of the fundamental differences in technology and products, the PMIC Family and Delaware

DJ Patents will also not overlap in their damages analyses.

       Distributed Buffer Families: The Distributed Buffer Families are not from the same family

as any of the Delaware DJ Patents. And Samsung does not identify in its filings before the Delaware

court any common sections of the JEDEC standards that will be implicated as to the disputed

elements. Thus, there is again no evidence of substantial overlap in infringement or validity. As to

damages, the Distributed Buffer Families are directed specifically and only to DDR4 LRDIMMs. The

DDR4 LRDIMMs are among the DDR4 products at issue in Delaware. Despite this fact, there will

be no meaningful overlap in the damages analysis. See MS Decl., ¶ 31. This is because the Distributed

Buffer Families are directed to unique timing features present only in the distributed data buffers on

LRDIMMs. Id., ¶¶ 22-26. But the Delaware ’912, ’218, and ’595 patents are directed at generic features

present on all DDR4 DIMMs with RCDs, and the Delaware ’523 patent does not implicate timing

issues of distributed data buffers, but only the same dual mode operation at issue in the Delaware

Action’s ’218 and ’595 patents. See supra, II.B.4; MS Decl., ¶¶ 27-30.

       Samsung does not engage the specific question of substantial overlap in infringement, validity

and damages. Instead, it only alleges superficial similarity, such as three shared inventors (one

deceased, and one the sole inventor of the HBM Patents not subject to the stay motion), one common

prosecution attorney (who also prosecuted the HBM Patents), and one overlapping group of products.



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But that is not enough to support relation back under ASM International. Indeed, under Samsung’s

legally defective version of substantial relation, the Distributed Buffer Family is as connected to the

HBM Patents as it is to any of the Delaware DJ patents. Samsung’s position is tantamount to arguing

that all lawsuits between Samsung and Netlist concerning DIMMs must occur in Delaware because it

filed an improper anticipatory lawsuit in that district, regardless of how remote or orthogonal the

patented features are. ASM International, 774 F. App’x at 652, made clear this is not the law.

        The dramatic dissimilarity in the patents’ coverage and claims are not overcome by their

declaration to different JEDEC standards. The Texas Patents and the Delaware DJ Patents each

implicate different sections of the JEDEC standards – which Samsung’s pleadings admit, see supra,

II.B.3, 4 – that were developed at different times with different development and voting history. As

such, the two sets of patents require gathering different sets of facts and analyzing different limitations

and JEDEC standards. Samsung’s allegation that Netlist failed to comply with its obligation to

disclose the relevant standard-essential patents and provide a FRAND license is also patent-family

specific. See Ex. 15 (JEDEC Patent Policy) at 23 (“Disclosure of a patent is deemed to include all

patents claiming priority of a single filing.”). Because the Texas Patents and the Delaware DJ Patents

belong to different patent families, no substantial overlap exists on the facts underlying Samsung’s

breach-of-contract claim, even if Samsung has asserted such a claim in this case.

         B. Even if Relation Back Was Proper, the Court Should Not Grant the Motion to
            Stay Because Complete Relief Cannot Be Granted in Delaware

        SEA is not a party to the Delaware Action and cannot be sued for patent infringement in

Delaware – it has no physical location in Delaware and is registered as a New York entity. ECF No.

25, ¶ 6. But SEC, SSI, and SEA can all be sued in Texas where they have an extensive presence. Texas

is the location of all of Samsung’s manufacturing facilities in the United States. Ex. 2 (Samsung in

Texas), at 4. SEA has a major presence in the district. And SEC, SEA, and SSI also repeatedly agree




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to defend patent actions in the Eastern District.

        In the Delaware Action, Samsung claims SEA “is not involved in the design or sale of the

allegedly infringing Samsung products.” ECF No. 26-8, at 5 n.3. This ignores the plain terms of 35

U.S.C. § 271(a), which identifies use as an independent act of infringement. In this Action, Netlist has

alleged that SEA infringes by, inter alia, using the infringing products. ECF No. 23, ¶ 6. The record

will show that SEA would be unable to run its business without the use of the infringing products.

Moreover, because SEC and SSI claim that they do not manufacture the products in the United States,

SEA’s importation of the accused products for, e.g., its own use, will be a primary source of damages.

        Delaware courts and the Federal Circuit both hold that a second-filed action should be favored

when it can provide complete relief. See Woodbolt Distrib., LLC v. Nat. Alternatives Int’l, Inc., No. 11-cv-

1266, 2013 WL 247041, at *2 (D. Del. Jan. 23, 2013) (dismissing declaratory judgment case where the

plaintiff engaged in forum shopping and where a later-filed action in Texas was poised to resolve all

parties’ disputes and presented a more convenient forum for both the Texas-based declaratory

judgment plaintiff and the California-based defendant); Serco Servs. Co., L.P. v. Kelley Co., Inc., 51 F.3d

1037, 1039–40 (Fed. Cir. 1995) (affirming second-filed infringement case going forward over first-

filed DJ because the DJ was filed in “anticipation of the [second-filed] suit and [the district court had]

considered the availability of witnesses and documents in each forum”).

         C. Samsung Fails to Otherwise Show the Need to Sever or Stay this Case

        The above analysis makes clear that “the extent of overlap [and] the likelihood of conflict”

between the Delaware DJ Patents and the original Texas Patents is extremely limited. In re ASM Int'l,

N.V., 774 F. App’x at 652. The other factors the Federal Circuit teaches should be considered under

a first-to-file issue are “the comparative advantage and the interest of each forum in resolving the

dispute.” Id. These other factors weigh strongly in favor of denying the motion to stay.

        First, the Delaware Action was extraordinarily complex when originally filed, without the



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Texas Patents.    Adding the Texas Patents to the Delaware action would make it even more

unmanageable. In contrast, keeping the actions separate allows for balanced litigation in each district,

with a similar number of patent families at issue in each.

        Second, Texas has a dramatically greater interest and advantage in resolving this dispute.

There are no facilities, witnesses, or discovery located in or near Delaware for either party. In contrast,

all of Samsung’s manufacturing facilities in this country, as well as SEA’s major office, are located in

Texas. Ex. 2 (Samsung in Texas), at 4. These locations will be a locus of documents and witnesses

needed for this case. In re Apple Inc., 979 F.3d 1332, 1340 (Fed. Cir. 2020). Moreover, all of Netlist’s

identified witnesses are located on the West Coast. See Exs. 17-18. Travelling to Texas for trial is

dramatically more efficient than travel to the East Coast. The same holds for Samsung’s witnesses in

Korea, who can take advantage of Samsung’s extensive facilities in Texas and the many direct flights

between Korea and Dallas.

        Third, any theoretical conflict that could exist between the Delaware DJ Patents and the Texas

Patents will never come to pass. Trial on the Texas Patents is scheduled for May 2023. ECF No. 34.

In contrast, there has been no substantive action in the Delaware Action, and the average time to a

claim construction for patent cases before Judge Andrews is 24.2 months, and the average time for a

jury trial in patent cases before Judge Andrews is 38.3 months. Ex. 16 (Docket Navigator data from

2008 through the present). In recent months, the District of Delaware has only become more

impacted by Judge Stark’s elevation to the Federal Circuit.

        Fourth, the pending case against Micron in this district also involves the Texas Patents and

similar products. This Court will become familiar with the technology at issue, and will be best

positioned to adjudicate and ensure consistency for overlapping issues between the two suits.

IV.     Conclusion

        For the reasons stated above, Samsung’s Motion to Sever and Stay should be denied.



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Dated: June 17, 2022                              Respectfully submitted,

                                                  /s/ Jason Sheasby

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                                   CERTIFICATE OF SERVICE

          I hereby certify that, on June 17, 2022, a copy of the foregoing was served to all counsel of

record.

                                                          /s/ Jason Sheasby
                                                          Jason Sheasby




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            CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

       I certify that a motion to seal this document is being filed contemporaneously pursuant to

Local Rules CV-5(a)(7) and CV-7(k).

                                                      /s/ Jason Sheasby
                                                      Jason Sheasby




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